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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   CARLA HUNT,                                   )
                                                 )
                  Plaintiff,                     )
                                                 )
   vs.                                           )       Case No. 15-CV-638-GKF-FHM
                                                 )
   ST. JOHN MEDICAL CENTER, INC.,                )
                                                 )
                  Defendant.                     )


                                              JUDGMENT

          Pursuant to the court’s order granting defendant’s Motion for Judgment on the Pleadings,

   it is ordered that the plaintiff Carla Hunt recover nothing, and the action be dismissed.

          ENTERED this 2nd day of February, 2017.
